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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                 Case No. 3:16-md-2738-MAS-RLS
   MARKETING, SALES PRACTICES
                                          MDL Case No. 2738
   AND PRODUCTS LIABILITY
   LITIGATION                             Motion Day: February 5, 2024




    DEFENDANTS JOHNSON & JOHNSON AND LTL MANAGEMENT
    LLC’S SUR-REPLY IN OPPOSITION TO PLAINTIFFS’ STEERING
   COMMITTEE’S MOTION TO QUASH OR FOR PROTECTIVE ORDER
         REGARDING SUBPOENA DIRECTED AT KCIC, LLC
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                                 INTRODUCTION1

        There is no dispute that J&J’s current litigation adversary, Beasley Allen, and

  its former lawyer, James Conlan, have “work[ed] together to come up with a strategy

  to try and resolve” the cases in this MDL. J&J Opp., Ex. 2 at 46:5–8. There is no

  dispute that Conlan possesses J&J’s confidences. And there is no reasonable dispute

  that Conlan passed those confidences to Andy Birchfield of the Beasley Allen firm

  during their strategic partnership. The question that now requires an answer is

  whether those confidences have been shared more broadly with other members of

  the Plaintiffs’ Steering Committee (“PSC”).

        To answer that question, J&J issued a third-party subpoena to KCIC. In

  response, the PSC has moved to quash the entirety of the subpoena on the ground

  that every document falls within New Jersey’s mediation privilege. The PSC’s

  objection is incredible on its face. It admits that it has not reviewed the documents

  in question, including communications exclusively between third parties, and so it

  has no basis to claim that every single document in KCIC’s possession contains its


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   As used in this memorandum, “J&J Motion” and “J&J Mot.” refer to J&J’s Motion
  for Order to Show Cause Why Andy Birchfield and Beasley Allen Should Not Be
  Disqualified From This Litigation or Removed From the Plaintiffs’ Steering
  Committee (ECF No. 28760-1); “PSC Mot.” refers to the PSC’s Memorandum in
  Support of its Motion to Quash or for Protective Order (ECF No. 28912-1); “J&J
  Opp.” refers to J&J’s Opposition to Plaintiffs’ Steering Committee’s Motion to
  Quash or for Protective Order (ECF No. 28920); and “PSC Reply” refers to the
  PSC’s Reply in Support of the Plaintiffs’ Steering Committee’s Motion to Quash or
  for Protective Order (ECF No. 28953).
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  privileged information. And the PSC’s claim that J&J is engaged in a “fishing

  expedition” is belied by the facts summarized above. Lawyers at one firm on the

  PSC have J&J’s confidences. There is good reason to believe they shared that

  highly-sensitive information with their co-counsel. The PSC’s motion should be

  denied.

                                    ARGUMENT

        A.     The PSC Fails To Describe The Allegedly Privileged Documents
               And Communications With Sufficient Particularity
        The PSC’s reply brief confirms that their privilege objections are legally

  deficient. The PSC first asserts that it need not object with specificity because the

  leading Third Circuit case laying out that requirement, United States v. O’Neill, 619

  F.2d 222 (3d Cir. 1980), arose in the context of a claim for executive privilege,

  whereas this case involves the mediation privilege. That is a distinction without a

  difference. The level of specificity required for an objection on privilege grounds

  does not turn on the precise privilege asserted. Smith v. F.T.C., 403 F. Supp. 1000,

  1016 (D. Del. 1975) (“As with any privilege the burden is upon the claimant of

  executive privilege to demonstrate a proper entitlement to exemption from

  disclosure.” (emphasis added)). Indeed, many courts applying O’Neill to other

  privileges and work product claims have made that clear. See, e.g., D.A. v. Nielsen,

  2018 WL 3158819, at *3 (D.N.J. June 28, 2018); Younes v. 7-Eleven, Inc., 2014 WL



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  1959246, at *3 (D.N.J. May 15, 2014); Gen. Refractories Co. v. Liberty Mut. Ins.

  Co., 1999 WL 286475, at *2 (E.D. Pa. May 5, 1999).

        So do the federal rules. Rule 26(b) requires a party seeking to withhold

  information as privileged to “describe the nature of the documents, communications,

  or tangible things not produced or disclosed . . . [to] enable other parties to assess

  the claim.” Fed. R. Civ. P. 26(b)(5)(A)(ii); Occidental Chem. Corp. v. 21st Century

  Fox Am., Inc., 2023 WL 2306066, at *4 (explaining the party “asserting a claim of

  privilege or protection must give notice to the receiving party that is ‘as specific as

  possible in identifying the information and stating the basis for the claim’”) (quoting

  Fed. R. Civ. P. 26(b)(5) Committee’s note to 2000 amendment; In re Human Tissue

  Prods. Liab. Litig., 255 F.R.D. 151, 163 (D.N.J. 2008) (explaining “party asserting

  the privilege” must prove elements on “document by document basis”) (citing

  United States v. Rockwell Int’l, 897 F.2d 1255, 1265 (3d Cir. 1990)). A party cannot

  assess a claim of privilege unless the documents are particularly described.

        Recognizing as much, the PSC asserts that it “specifically described” the

  communications it believes are privileged. PSC Reply 5. But that is self-evidently

  untrue. The PSC has moved to quash the entirety of the KCIC subpoena, including

  requests for communications between Conlan and KCIC that the PSC admits it does

  not have “access to.” Id. at 7. Obviously, the PSC could not describe with specificity

  documents it never read. And the most the PSC says in its reply is that these


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  documents “may” implicate confidential information, id. at 7 (emphasis added),

  which confirms the invalidity of its objection. The PSC is asking this Court to quash

  a subpoena based on the speculative possibility that documents it has not reviewed

  are privileged. That is improper. See Greene v. Phila. Hous. Auth., 484 F. App’x

  681, 685 (3d Cir. 2012) (finding plaintiff’s “assertion of possible privileged

  information” that may be produced under subpoena to be “based entirely on

  speculation”).

        The PSC’s motion is also procedurally deficient because it has not produced

  a privilege log. The PSC responds that it is not required to produce a privilege log

  because J&J issued a third-party subpoena and, to log KCIC’s documents, the PSC

  would first need to review documents belonging to KCIC. PSC Reply 6–7. But how

  can the PSC credibly claim privilege over every single document in a set it has not

  reviewed? It cannot. The PSC offers no evidence that it even asked to review the

  documents to find out whether they are privileged, much less a reason why it could

  not first review the KCIC documents responsive to the subpoena and then log those

  it believes are privileged. That is the way the process is supposed to work: the point

  of producing a privilege log and objecting with specificity is to enable the Court and

  the party seeking discovery to meaningfully assess the claim of privilege. See J&J

  Opp. at 6–7 (quoting Wei v. Bodner, 127 F.R.D. 91, 96 (D.N.J. 1989); Dawson v.

  Ocean Twp., 2011 WL 890692, at *23 (D.N.J. Mar. 14, 2011)).


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        By contrast, if the PSC’s argument were adopted, it would be easier for a party

  who is not the subject of a subpoena to object on privilege grounds than the

  subpoenaed party itself. On the PSC’s logic, KCIC would need to produce a

  privilege log if the subpoena called for its privileged documents, but the PSC does

  not need to produce a privilege log only because the subpoena was addressed to

  someone else. That makes no sense. The PSC should be required to review the

  documents responsive to the subpoena and produce a privilege log for all the

  documents it believes are privileged. Meanwhile, non-privileged documents should

  be produced.

        Neither J&J nor this Court can meaningfully assess the PSC’s claim that the

  documents are covered by the mediation privilege without a privilege log and

  specific objections. Despite its claim that “[a]ll of the subpoenaed information” is

  covered by that privilege, PSC Reply 7, it still has not explained how the particular

  documents covered by the subpoena were “made for purposes of considering,

  conducting, participating in, initiating, continuing, or reconvening a mediation or

  retaining a mediator.” Napolitano v. Corbishley, 2021 WL 3486901, at *2 (D.N.J.

  Aug. 9, 2021) (quotation omitted). Likewise, the mediation privilege does not

  “require the exclusion of any evidence otherwise discoverable merely because it is

  presented in the course of compromise negotiations,” and documents “which

  otherwise exist” or “existed independent of the mediation” are “not subject to th[e]


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privilege.” N.J. Dep’t of Env’t Prot. v. Am. Thermoplastics Corp., 2017 WL 498710,

at *3 (D.N.J. Feb. 7, 2017) (quotations omitted).

      Thus, the PSC’s tactic of pointing out that some responsive documents might

have been written while “the parties were actively discussing possible” mediation,

PSC Reply 8, is irrelevant. Just because there was a potential mediation does not

mean that every communication around that time comes within the mediation

privilege. If anything, the PSC’s overbroad argument serves only to illustrate why

specific objections and a privilege log are required—without them, there is no basis

to determine whether the documents were created because of mediation or merely

happened to be written in a time period when mediation was separately being

considered.2 This is, of course, only if the proposition that communications between

Legacy Liability Solutions (or Beasley Allen) and KCIC were prepared for purposes

of mediation between the PSC and J&J is even accepted in the first place. It should

not be.




2
 The PSC’s reliance on Berardino v. Prestige Mgmt. Servs., Inc., 2017 WL 9690965
(D.N.J. Dec. 8, 2017), skips a step. In Berardino, there was no question that the
party who issued the subpoena sought protected information—the plaintiff
subpoenaed a third-party to produce “a confidential settlement agreement.” Id. at
*1 (quotation omitted). And the court held that the plaintiff’s need for that
confidential document overcame the opposing party’s interest in confidentiality. See
id. Here, the PSC has not established the confidentiality of any documents
responsive to the subpoena, so the question whether J&J can overcome a legitimate
claim of privilege is not implicated.
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      B.     J&J Has A Clear Basis For Seeking Documents Relevant To
             Disqualification
      In its reply brief, the PSC argues that J&J is engaged in a “fishing expedition.”

PSC Reply 3; see also id. at 11–13. Not so. Counsel for Beasley Allen has already

admitted that its lawyers and James Conlan, J&J’s former lawyer, “work[ed] together

to come up with a strategy to try and resolve or settle disputes.” J&J Opp., Ex. 2 at

46:5–8. It also cannot be reasonably disputed that Conlan possessed confidential

information relevant to this litigation while he was working together with J&J’s

litigation adversary on a resolution to this litigation. One key question, therefore, is

the full extent to which J&J’s client confidences have been shared beyond the

alliance between Conlan and Beasley Allen, and in particular with other members of

the PSC. That is more than a solid foundation for the discovery sought, especially

given the immense stakes—namely, continued litigation where J&J’s adversaries

possess its confidences.

      The PSC’s response is to relitigate the motion to disqualify Birchfield and

Beasley Allen. They say that there is “no evidence,” PSC Reply 11, that Conlan

disclosed confidential information gained during his representation of J&J to

Birchfield, and that self-serving declarations to the contrary “affirmatively” disprove

that contention, PSC Reply 12. But as J&J has already explained, J&J Mot. 8–13,

17, the PSC’s arguments are incorrect for two reasons. First, there is substantial

circumstantial evidence that Beasley Allen lawyers now have J&J’s confidences.

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Second, the PSC has not even attempted to rebut the presumption that J&J’s

confidences were shared or addressed the many cases holding that self-serving

declarations like those submitted here should be disregarded. Given the facts and

legal presumption establishing that members of one firm on the PSC possess J&J’s

confidences, J&J should be permitted to discover whether other members of the PSC

possess the same.3

                                 CONCLUSION

      For the foregoing reasons, the PSC’s motion should be denied.

Dated: February 5, 2024               Respectfully submitted,

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3
  The PSC accuses J&J of misrepresenting Cobell v. Norton, 237 F. Supp. 2d 71
(D.D.C. 2003), as illustrating that discovery may be appropriate to gather evidence
in support of a motion for disqualification. PSC Reply 13. Cases cited by the PSC,
however, make the very same point. Compare J&J Opp. 9, with PSC Reply 11.
Indeed, the PSC agrees that discovery in aid of a motion for disqualification may be
appropriate, PSC Reply 11, so its belabored discussion of Cobell is a moot point.
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                                 LLC




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